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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:06CR315

       vs.
                                                                        ORDER
TONYA WRIGHT HERNANDEZ,

                      Defendant.


Defendant Tonya Wright Hernandez appeared before the court on October 1, 2014 on a 2nd
Amended Petition for Warrant or Summons for           Offender Under Supervision [247].         The
defendant was represented by Assistant Federal Public Defender Richard H. McWilliams on
behalf of Julie B. Hansen, and the United States was represented by Assistant U.S. Attorney
Matthew R. Molsen on behalf of Kimberly C. Bunjer.           Through her counsel, the defendant
waived her right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P.
32.1(a)(1). The government moved for detention. Through counsel, the defendant declined to
present any evidence on the issue of detention and otherwise waived a detention hearing. Since it
is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence
that she is neither a danger to the community nor a flight risk, the court finds the defendant has
failed to carry his burden and that she should be detained pending a dispositional hearing before
Chief Judge Smith Camp.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on October 23, 2014 at 9:00 a.m. Defendant must be present in person.
       2.      The defendant, Tonya Wright Hernandez, is committed to the custody of the
Attorney General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.




       Dated this 1st day of October, 2014.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge




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